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    UNITED STATES DISTRICT COURT EASTERN DISTRICT OF LOUISIANA


IN RE: VIOXX
                                                               MDL NO. 1657
      PRODUCTS LIABILITY LITIGATION :
                                                               SECTION: L

                                                               JUDGE FALLON
............................................................   MAG. JUDGE KNOWLES
....
THIS DOCUMENT RELATES TO:
     2:06-cv-3140

                          MOTION TO WITHDRAW AS COUNSEL


        Plaintiff’s counsel respectfully moves for leave to withdraw as counsel in this matter, his

representation of Plaintiff FRANCIS FLOURNOY. Without breaching any privilege, Plaintiff’s

counsel can only state that it is not in the best interest of these clients that he remain as counsel.

This motion applies only to representation of FRANCIS FLOURNOY, John J. Driscoll and

Brown & Crouppen, P.C., remain as counsel for all other plaintiffs in the action. Upon receipt of

the Order granting this Motion to Withdrawal, File & Serve will be updated to reflect this change

in representation.

        Until further notice, all future Notices, Orders, and Motions should be served directly to

the Plaintiff, Francis Flournoy, 7123 Winchester, Chicago, IL 60636, Telephone No. 773-737-

4972.




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                                  Respectfully submitted by:
                                  BROWN & CROUPPEN, P.C.


                                  /S/ JOHN J. DRISCOLL
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                                  Attorney for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that Plaintiff, Francis Flournoy, has been notified of all deadlines
and pending court appearances by certified mail.

       ALSO, I HEREBY CERTIFY that the above and foregoing Motion to Withdraw has
been served on Liaison Counsel, Russ Herman and Phillip Whittmann, by U.S. Mail and e-mail
and upon all parties by electronically uploading the same to LexisNexis File & Serve Advanced
in accordance with PreTrial Order No. 8(B), and that the foregoing was filed electronically via
the court’s electronic filing system, in the United States District Court for the Eastern District of
Louisiana on this 30th day of November, 2006.


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Plaintiff




                                                      By: /s/ JOHN J. DRISCOLL
                                                         John J. Driscoll, IL #6276464




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